Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Midland Platinum, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Hampton Inn Midland
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5011 W Loop 250 N                                               111 Broadway, Suite 300
                                  Midland, TX 79707                                               Nashville, TN 37201
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Midland                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




              Case 3:24-bk-02448                  Doc 1     Filed 07/01/24 Entered 07/01/24 18:31:53                               Desc Main
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                                            Document     Page 1 of 14
Debtor    Midland Platinum, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




              Case 3:24-bk-02448                    Doc 1        Filed 07/01/24 Entered 07/01/24 18:31:53                                      Desc Main
Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                                                                 Document     Page 2 of 14
Debtor    Midland Platinum, LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
               Case 3:24-bk-02448                       Doc 1        Filed 07/01/24 Entered 07/01/24 18:31:53                                 Desc Main
Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                                                                     Document     Page 3 of 14
Debtor   Midland Platinum, LLC                                                      Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




             Case 3:24-bk-02448         Doc 1        Filed 07/01/24 Entered 07/01/24 18:31:53                      Desc Main
Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                                     Document     Page 4 of 14
Debtor    Midland Platinum, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 1, 2024
                                                  MM / DD / YYYY


                             X /s/ Mitul Patel                                                            Mitul Patel
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Henry E. ("Ned") Hildebrand, IV                                         Date July 1, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Henry E. ("Ned") Hildebrand, IV
                                 Printed name

                                 Dunham Hildebrand Payne Waldron, PLLC
                                 Firm name

                                 9020 Overlook Blvd., Suite 316
                                 Brentwood, TN 37027
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615.933.5851                  Email address      ned@dhnashville.com

                                 032168 TN
                                 Bar number and State




              Case 3:24-bk-02448                Doc 1       Filed 07/01/24 Entered 07/01/24 18:31:53                                 Desc Main
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                                            Document     Page 5 of 14
Debtor     Midland Platinum, LLC                                                            Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                   Chapter     11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Amarillo Platinum                                                       Relationship to you
District   Middle District of Tennessee               When     7/01/24             Case number, if known             24-2447
Debtor     Cookeville Platinum, LLC                                                Relationship to you
District   Middle District of Tennessee               When     9/29/23             Case number, if known             23-3589
Debtor     Destin Platinum, LLC                                                    Relationship to you
District   Middle District of Tennessee               When     9/29/23             Case number, if known             23-3596
Debtor     Lebanon Platinum, LLC                                                   Relationship to you
District   Middle District of Tennessee               When     9/29/23             Case number, if known             23-3592
Debtor     Midland Platinum II, LLC                                                Relationship to you
District   Middle District of Tennessee               When     7/01/24             Case number, if known
Debtor     Murfreesboro Platinum                                                   Relationship to you
District   Middle District of Tennessee               When     9/29/23             Case number, if known             23-3599
Debtor     Platinum Gateway II, LLC                                                Relationship to you
District   Middle District of Tennessee               When     9/29/23             Case number, if known             23-3597
Debtor     VMV, LLC                                                                Relationship to you
District   Middle District of Tennessee               When     9/29/23             Case number, if known             23-3598




              Case 3:24-bk-02448                  Doc 1   Filed 07/01/24 Entered 07/01/24 18:31:53                             Desc Main
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 6
                                                          Document     Page 6 of 14
 Fill in this information to identify the case:
 Debtor name Midland Platinum, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF TENNESSEE                                                                        Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Amazon Capital                                                                                                                                                    $1,508.00
 Services
 PO Box 035184
 Seattle, WA 98124
 AT&T                                                                                                                                                              $2,597.87
 PO Box 5019
 Carol Stream, IL
 60197
 Banyan Tree                                                                                                                                                     $80,088.01
 Management, LLC
 4100 Legendary
 Drive, Suite 280
 Destin, FL 32541
 Bartex Services                                                                                                                                                 $16,000.00
 PO Box 40323
 Fort Worth, TX
 76140
 City of Midland                                                                                                                                                   $1,810.02
 Utilities
 PO Box 208342
 Dallas, TX 75320
 Commtrak                                                                                                                                                            $730.30
 17493 Nassau
 Commons
 Lewes, DE 19958
 Hilton                                                                                                                                                        $192,838.73
 4649 Paysphere
 Circle
 Chicago, IL 60674
 Home Tax Solutions                                                                                         $71,103.69                        $0.00              $71,103.69
 6953 Alamo Downs
 Parkway
 San Antonio, TX
 78238
 Hotel Effectiveness                                                                                                                                                 $892.24
 PO Box 769539
 Rosewell, GA 30076


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                Case 3:24-bk-02448              Doc 1        Filed 07/01/24 Entered 07/01/24 18:31:53                                          Desc Main
                                                             Document     Page 7 of 14
 Debtor    Midland Platinum, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 LBC2 Trust                                                                                           $10,628,785.24                          $0.00        $10,628,785.24
 PO Box 2301
 Stillwater, MN 55082
 Optimum Business                                                                                                                                                  $2,000.00
 PO Box 70340
 Philadelphia, PA
 19176-0340
 OTA Insight                                                                                                                                                       $1,216.02
 2930 Umatilla Street,
 Suite 300
 Denver, CO 80211
 Persona, Inc.                                                                                                                                                   $34,031.04
 700 21st Street SW
 Watertown, SD
 57201
 Pinnacle                                                                                                                                                          $3,978.07
 Communications
 1626 Tom Williams
 Drive
 Fargo, ND 58104
 PRECOR                                                                                                                                                          $20,314.68
 PO Box 3136
 Carol Stream, IL
 60132-3136
 RETC, LP                                                                                                                                                            $732.75
 5151 Belt Line Road,
 Suite 725
 Dallas, TX 75254
 Saia Trim Group                                                                                                                                                   $3,000.00
 2552 Highway 51
 South
 Hernando, MS 38632
 TaxCORE Lending,                                                                                                                                                $68,247.07
 LLC
 4849 Greenville
 Avenue
 Tower Two, Suite
 1620
 Dallas, TX 75206
 Texas Comptroller                                                                                                                                               $73,163.03
 of Public Accounts
 PO Box 149348
 Austin, TX 78714
 Vistar                                                                                                                                                            $1,194.81
 PO Box 951080
 Dallas, TX 75395




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                Case 3:24-bk-02448              Doc 1        Filed 07/01/24 Entered 07/01/24 18:31:53                                          Desc Main
                                                             Document     Page 8 of 14
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                         MIDLAND PLATINUM, LLC
                         111 BROADWAY, SUITE 300
                         NASHVILLE TN 37201

                         HENRY E. ("NED") HILDEBRAND, IV
                         DUNHAM HILDEBRAND PAYNE WALDRON, PLLC
                         9020 OVERLOOK BLVD., SUITE 316
                         BRENTWOOD, TN 37027

                         AMARILLO PLATINUM, LLC
                         111 BROADWAY, SUITE 300
                         NASHVILLE TN 37201

                         AMAZON
                         PO BOX 960013
                         ORLANDO FL 32896

                         AMAZON CAPITAL SERVICES
                         PO BOX 035184
                         SEATTLE WA 98124

                         AT&T
                         PO BOX 5019
                         CAROL STREAM IL 60197

                         ATMOS ENERGY CORPORATION
                         PO BOX 650205
                         DALLAS TX 75265

                         BANYAN TREE MANAGEMENT, LLC
                         4100 LEGENDARY DRIVE, SUITE 280
                         DESTIN FL 32541

                         BARTEX SERVICES
                         PO BOX 40323
                         FORT WORTH TX 76140

                         CITY OF MIDLAND
                         PO BOX 1152
                         MIDLAND TX 79702-1152

                         CITY OF MIDLAND UTILITIES
                         PO BOX 208342
                         DALLAS TX 75320

                         COMMTRAK
                         17493 NASSAU COMMONS
                         LEWES DE 19958

                         COOKEVILLE PLATINUM, LLC
                         111 BROADWAY, SUITE 300
                         NASHVILLE TN 37201




    Case 3:24-bk-02448   Doc 1   Filed 07/01/24 Entered 07/01/24 18:31:53   Desc Main
                                 Document     Page 9 of 14
                     COURTESY PRODUCTS
                     PO BOX 840020
                     KANSAS CITY MO 64184

                     CT CORPORATION
                     330 N BRAND BLVD, SUITE 700
                     ATTN: SPRS
                     GLENDALE CA 91203

                     CT LIEN SOLUTIONS
                     2929 ALLEN PARKWAY, SUITE 3300
                     HOUSTON TX 77019

                     CYBERTEK
                     PO BOX 748442
                     ATLANTA GA 08442

                     D&D PLUMBING, HEATING, & AC
                     1101 WEST FLORIDA AVENUE
                     MIDLAND TX 79701

                     DESTIN PLATINUM, LLC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     FEDEX
                     PO BOX 7221
                     PASADENA CA 91109

                     FIREHOUSE GRAPHICS, INC
                     1223 AP HILL PLACE
                     FOREST VA 24551

                     FIRETROL PROTECTION SYSTEMS
                     1001 AVENUE B
                     LUBBOCK TX 79401

                     FRITZ BYRNE, PLLC
                     C/O LISA C. FANCHER
                     402 WEST SEVENTH STREET
                     AUSTIN TX 78701

                     HARI & ASSOCIATES
                     1025 INTERSTATE DRIVE
                     COOKEVILLE TN 38501

                     HILTON
                     4649 PAYSPHERE CIRCLE
                     CHICAGO IL 60674

                     HOME TAX SOLUTIONS
                     6953 ALAMO DOWNS PARKWAY
                     SAN ANTONIO TX 78238



Case 3:24-bk-02448   Doc 1    Filed 07/01/24 Entered 07/01/24 18:31:53   Desc Main
                             Document      Page 10 of 14
                     HOTEL EFFECTIVENESS
                     PO BOX 769539
                     ROSEWELL GA 30076

                     HRS GROUP
                     PO BOX 635960
                     CINCINNATI OH 45263

                     HUDSON ENERGY SERVICES
                     5015 WEST HEIMER ROAD, SUITE 1200
                     HOUSTON TX 77056

                     LBC2 TRUST
                     PO BOX 2301
                     STILLWATER MN 55082

                     LEBANON PLATINUM, LLC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     MICKTEL LLC
                     PO BOX 1417
                     LEBANON TN 37088

                     MIDLAND CENTRAL APPRAISAL DISTRICT
                     PO BOX 908002
                     MIDLAND TX 79708

                     MIDLAND COUNTY
                     2110 NORTH A STREET, #111
                     MIDLAND TX 79705

                     MIDLAND PLATINUM II, LLC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     MOOD MEDIA
                     2100 S. IH 35, SUITE 201
                     AUSTIN TX 78704

                     MURFREESBORO PLATINUM, LLC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     NASHVILLE AIRPORT PLATINUM, LLC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     OM LITTLE ROCK BROADWAY HOTEL, LLC
                     6705 SHALLOWFORD ROAD
                     CHATTANOOGA TN 37421

                     OPTIMUM BUSINESS
                     PO BOX 70340
                     PHILADELPHIA PA 19176-0340

Case 3:24-bk-02448   Doc 1    Filed 07/01/24 Entered 07/01/24 18:31:53   Desc Main
                             Document      Page 11 of 14
                     OTA INSIGHT
                     2930 UMATILLA STREET, SUITE 300
                     DENVER CO 80211

                     PERSONA, INC.
                     700 21ST STREET SW
                     WATERTOWN SD 57201

                     PINNACLE COMMUNICATIONS
                     1626 TOM WILLIAMS DRIVE
                     FARGO ND 58104

                     PLATINUM GATEWAY II, LLC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     PLATINUM HOSPITALITY MANAGEMENT CO., INC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     PLATINUM MANAGEMENT SERVICES
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     PRECOR
                     PO BOX 3136
                     CAROL STREAM IL 60132-3136

                     QUORE
                     PO BOX 6843
                     CAROL STREAM IL 60197

                     RENODIS
                     476 ROBERT STREET NORTH
                     SAINT PAUL MN 55101

                     REPUBLIC
                     8220 WEST HIGHWAY 80
                     MIDLAND TX 79706

                     RETC, LP
                     5151 BELT LINE ROAD, SUITE 725
                     DALLAS TX 75254

                     RISE VISION
                     PO BOX 505331
                     ST. LOUIS MT 63150-5331

                     RR DONNELLEY
                     PO BOX 932721
                     CLEVELAND OH 44193

                     SAIA TRIM GROUP
                     2552 HIGHWAY 51 SOUTH
                     HERNANDO MS 38632

Case 3:24-bk-02448   Doc 1    Filed 07/01/24 Entered 07/01/24 18:31:53   Desc Main
                             Document      Page 12 of 14
                     SAN MARCOS PLATINUM, LLC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201

                     SK INSURANCE
                     7070 KNIGHTS COURT, SUITE 1101
                     MISSOURI CITY TX 77459

                     SMALL BUSINESS ADMINISTRATION
                     10737 GATEWAY WEST, #300
                     EL PASO TX 79935

                     TADA HOTEL CONSULTING FIRM
                     22 SPRING BASKET TRAIL
                     THE WOODLANDS TX 77389

                     TAXCORE LENDING, LLC
                     4849 GREENVILLE AVENUE
                     TOWER TWO, SUITE 1620
                     DALLAS TX 75206

                     TERMINEX
                     PO BOX 802155
                     CHICAGO IL 60680

                     TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                     PO BOX 149348
                     AUSTIN TX 78714

                     UNIGUEST
                     PO BOX 7410716
                     CHICAGO IL 60674

                     VASANT HARI
                     1140 SAFETY HARBOR COVE
                     OLD HICKORY TN 37138

                     VISTAR
                     PO BOX 951080
                     DALLAS TX 75395

                     VMV, LLC
                     111 BROADWAY, SUITE 300
                     NASHVILLE TN 37201




Case 3:24-bk-02448   Doc 1    Filed 07/01/24 Entered 07/01/24 18:31:53   Desc Main
                             Document      Page 13 of 14
                                         United States Bankruptcy Court
                                              Middle District of Tennessee
 In re   Midland Platinum, LLC                                                       Case No.
                                                            Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Midland Platinum, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 1, 2024                                   /s/ Henry E. ("Ned") Hildebrand, IV
Date                                           Henry E. ("Ned") Hildebrand, IV
                                               Signature of Attorney or Litigant
                                               Counsel for Midland Platinum, LLC
                                               Dunham Hildebrand Payne Waldron, PLLC
                                               9020 Overlook Blvd., Suite 316
                                               Brentwood, TN 37027
                                               615.933.5851 Fax:615.777.3765
                                               ned@dhnashville.com




         Case 3:24-bk-02448         Doc 1    Filed 07/01/24 Entered 07/01/24 18:31:53                 Desc Main
                                            Document      Page 14 of 14
